
STOKER, Judge.
For the reasons assigned in the consolidated case of Concordia Parish School Board v. J.A. Russ, d/b/a J.A. Russ Construction Company, Inc., our docket number 85-660, 491 So.2d 1368, in which a separate decision is being rendered by us this date, the judgment of the district court is reversed and set aside. This case is remanded to the trial court for retrial and reconsideration in light of and consistent with the views expressed therein. The costs of court, both at the trial level and in this court of appeal, are assessed equally to the parties insofar as they may be legally imposed upon the City of Ferriday.
REVERSED AND REMANDED.
PER CURIAM.
For the reasons given in our per curiam to the companion case of Concordia Parish School Board v. J.A. Russ, d/b/a Russ Construction Company, Inc., 491 So.2d 1368 (La.App. 3d Cir.1986), our docket number 85-660, the application for rehearing in this case is denied.
